                     Case 2:22-cv-01823-MTL Document 9-1 Filed 10/24/22 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                       District
                                                __________      of Arizona
                                                           District of __________

 Arizona Alliance for Retired Americans; Voto Latino             )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No.   CV-22-1823-PHX-JJT
                                                                 )
     Clean Elections USA; Melody Jennings; Doe                   )
                   Defendants 1-10
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Melody Jennings
                                       9105 S 76th East Ave
                                       Tulsa, OK 74133




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Daniel Arellano
                                       Herrera Arellano LLP
                                       530 East McDowell Rd, Suite 107-150
                                       Phoenix, AZ 85004



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk


                                                                                                 ISSUED ON 3:24 pm, Oct 24, 2022
                                                                                                    s/ Debra D. Lucas, Clerk
